




Dismissed and Memorandum Opinion filed February 26, 2009








Dismissed
and Memorandum Opinion filed February 26, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00094-CR

____________

&nbsp;

JANARD CHILDS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
184th District Court

Harris County, Texas

Trial Court Cause No. 1169965

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to aggravated robbery.&nbsp; In accordance with the terms of a
plea bargain agreement with the State, the trial court sentenced appellant on
December 22, 2008, to confinement for ten years in the Institutional Division
of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice
of appeal.&nbsp; We dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Panel consists of Chief Justice Hedges and Justices
Anderson and Seymore. 

Do Not Publish C Tex. R. App. P.
47.2(b).





